     Case 18-43088-mxm11 Doc 55 Filed 11/12/18   Entered 11/12/18 14:42:43   Page 1 of 1




                    IN THE UNITED STATES BANKRUPTCY COURT
                            NORTHER DISTRICT OF TEXAS
                                FORT WORTH DIVISION
IN RE:
Dr. Shabnam Qasim, MD, PA


Debtor                                   §            Case No. 18-43088-MXM-11
                                                      (Chapter 11)
                                         §
                                         §
                                         §

_____________________________________________________________________________________
 ORDER GRANTING THE MOTION FOR PAYMENT OF COMPENSATION REQUEST FILED
                ON NOVEMBER 06, 2018 BY PATIENT CARE OMBUDSMAN
  ____________________________________________________________________________________


     THIS MATTER CAME BEFORE THE COURT OF THE HONRABLE JUDGE MARK X.
MULLIN UPON THE MOTION TO HAVE THE DEBTOR, DR. SHABNAM QASIM, MD, PA
PAY COMPENSATION FOR THE SERVICES OF THE PATIENT CARE OMBUDSMAN FOR
SERVICES RENDERED FROM AUGUST 31, 2018 TO NOVEMBER 06, 2018.
     THE COURT, BEING FULLY ADVISED DOES:
     ORDER, ADJUDGE AND DECREE THAT THE MOTION BE, AND IT IS, GRANTED,
AND THAT DEBTOR IMMEDIATELY MAKE COMPENSATION TO THE PATIENT CARE
OMBUDSMAN.


                                                      ____________________________________
                                                                              WILLIAM X MULLIN
                                                                          US BANKRUPTCY JUDGE
                                                                     NORTHERN DISTRICT OF TEXAS
                                                                          FORT WORTH DIVISION
